










Opinion issued March 30, 2006











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00792–CV




IGNACIA GARCIA, Appellant

V.

DANIEL GARCIA, Appellee




On Appeal from the 246th District Court
Harris County, Texas
Trial Court Cause No. 2004-61140




MEMORANDUM OPINIONAppellant Ignacia Garcia has failed to timely file a brief.  See Tex. R. App. P.
38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant Ignacia Garcia did not adequately respond.  See Tex.
R. App. P. 42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Keyes, and Hanks.


